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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Lynn Jean Pieksma
                                       Plaintiff,
v.                                                        Case No.: 1:15−cv−07312
                                                          Honorable Jorge L. Alonso
BBMC Mortgage, LLC, et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 20, 2018:


        MINUTE entry before the Honorable Jorge L. Alonso: Motion hearing held.
Defendants' counsel failed to appear. Defendants' motion for partial summary judgment
[181] is taken under advisement. Plaintiff's response shall be filed by 3/20/18. Defendants'
reply in support shall be filed by 4/3/18. The court will rule electronically. Status hearing
set for 8/7/18 at 9:30 a.m. Notices mailed by judge's staff (ntf, )




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